STATE OF TENNESSEE                                                                                  CASE     FILE
20" JUDICIAL DISTRICT                                         SUMMONS
CHANCERY COURT
PLAINTIFF
                                                                                            7            1
                                                                    DEFENDANT
                                                                     PENNSYLVANIA MANUFACTURERS'] INDEMNITY
   BELMONT UNIVERSITY                                                COMPANY dibla PMA INSURANCE GROUP

TO:      (NAME AND ADDRESS             OF DEFENDANT)
PENNSYLVANIA MANUFACTURERS' IN DEMN ITY                                                             Method of Service:
COMPANY. dlbla PMA INSURANCE GROUP                                                           Certified Mail
dibla PMA MANGEMENT CORP.                                                                  G Davidson Co. Sheriff
              CIO
               ervce
                   orpraton
                       ompny                                                               G *Comm.          Of Insurance
                          C/O
                          SeviceCompny
                                 orpoatio                                                         *Secretary of State
2908 Poston Avenue                                                                         G      *Ouft of County Sheriff
                                                                                           G      Private     Process Server
Nashville, TN 37203                                                                        G      Other
List each defendant on a separate summons.                                                          *Attach Required Fees

YOU ARE SUMMONED TO DEFEND A CIVIL ACTION FILED AGAINST YOU IN CHANCERY COURT, DAVIDSON COUNTY,
TENNESSEE. YOUR DEFENSE MUST BE MADE WITHIN THIRTY (30) DAYS FROM THE DATE THIS SUMMONS IS SERVED
U PON YOU. YOU MUST FILE YOUR DEFENSE WITH THE CLERK OF THE COURT AND SEND A COPY TO THE PLAINTIFF'S
ATTORNEY AT THE ADDRESS LISTED BELOW. IF YOU. FAIL TO DEFEND THIS ACTION BY THE ABOVE DATE, JUDGMENT
BY DEFAULT CAN BE RENDERED AGAINST YOU FOR THE RELIEF SOUGHT IN THE COMPLAINT.
Attorney for plaintiff or plaintiff if filing Pro Se:           FILED, ISSUED & ATTESTED
(Name, address & telephone number)                                                               AUG 2 i BG11
John L. Farringer IV (No. 22783)
                            PLC                                 CR1511 SCOTT, Clerk and Master
SHERRARD & ROE, PCBy:                                                                   1 Public Square
150 3rd Avenue South, Suite 1100                                                        Suite 308

Nashville, TN 37201NahilT
(615) 742-4200                                                                                           L
                                                                                   Deput    lr    &Mse
                                                        NOTICE OF DISPOSITION DATE

       The disposition date of this case is twelve months from date of filing. The case must be resolved or set for trial by
this date or it will be dismissed by the Court for failure to prosecute pursuant to T.R.C.P. 41.02 and Local Rule 18.

       If you think the case will require more than one year to resolve or set for trial, you must send a letter to the Clerk
and Master at the earliest practicable date asking for an extension of the disposition date and stating your reasons.
Extensions will be granted only when exceptional circumstances exist.
TO THE SHERIFF:                                                     DATE RECEIVED




                                                                    Sheriff


                                                                    I HEREBY CERTIFY THAT THIS ISATRUE COPY
***Submit one original plus one copy for each                    deWORJfNA N 1ffffvvl FIL P         Y9~ff ICE.
                                     SADA     Coordinator, Cristi STNL.4SS825.1,J.LNY OF-
                                                                                    CRISTI SC        C       K&MASTER
                                                                                 sU1-


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                                                      RETURN ON SERVICE OF SUMMONS

        I hereby return this summons as follows: (Name of Party Served)

o    Served _______________________                                                     o Not Found _________________
Ei   Not Served ______________________                                                  o Other____________________


DATE OF RETUJRN:                                                                 By:

                                                                                   Sheriff/or other authorized person to serve process
                                              RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return that on the      _____          day of_____________                    20-, 1 sent, postage prepaid, by registered return
receipt mail or certified return receipt mail, a certified copy of the summnons and a copy of the complaint in case            ____________to



the defendant    _______________.On                                  the __   day of________________                        120        I received the return
receipt, which had been signed by        __________________onthe                             __     day of                                      120     .

The return receipt is attached to this original summons to be filed by the Chancery Court Clerk & Master.
Sworn to and subscribed before me on this                ___day         of_____        Signature of plaintiff, plaintiff's attorney or other person
          '20.                                                                         authorized by statute to serve process.
Signature of___ Notary Public or          ___Deputy          Clerk


My Commission Expires:
                       NOTICE OF PERSONAL
                      PROPERTY EXEMPTION
TO THE DEFENDANT(S):
     Tennessee law provides a ten thousand dollar ($10,000.00)
debtor's equity interest personal property exemption from execution or
seizure to satisfy ajudgment. If ajudgrnent should be entered against
you in this action and you wish to claim property as exempt, you must
file a written list, under oath, of the items you wish to claim as exempt
with the clerk of the court. The list may be filed at any time and may
be changed by you thereafter as necessary; however, unless it is filed
before the judgment becomes final, it will not be effective as to any
execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by law and do not need to be listed;                                               ATTACH
these include items of necessary wearing apparel (clothing) for yourself                                          RETURN
and your family and trunks or other receptacles necessary to contain                                              RECEIPT
such apparel, family portraits, the family Bible, and school books.
Should any of these items be seized you would have the right to                                                    HERE
recover them. If you do not understand your exemption right or how to                                        (IF APPLICABLE)
exercise it, you may wish to seek the counsel of a lawyer.

     Mail list to: Clerk & Master
                   1 Public Square
                    Suite 308
                   Nashville TN 37201

Please state file number on list.                                                      ______________________________
                                                      CERTIFICATION (IF APPLICABLE)
1, Cristi Scott, Clerk & Master of the Chancery. Court in the State of                 CRISTI SCOTT', Clerk & Master
Tennessee, Davidson County, do certify this to be a true and correct
copy of the original summons issued in this case.                                      By:

                                                                                                                            D.C. & M.



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             IN THE CHANCERY COURT FOR DAVIDSON COUNTY, TENNESSEE


BELMONT UNIVERSITY,)

            Plaintiff,)
V.                                                    )Case           No.         '       <           "



PENNSYLVANIA                                                                                          V)
MANUFACTURERS' INDEMNITY                              )Jury           Demand
COMPANY d/b/a PMA INSURANCE)                                                                  §
GROUP,)

            Defendant.)


                                               COMPLAINT

            Plaintiff Belmont University ("Belmont")          for its Complaint   against Defendant

Pennsylvania Manufacturers' Indenity Company dlb/a PMA Insurance Group ("PMA") states

as follows:

                                     PARTIES AND JURISDICTION

            1.         Plaintiff Belmont University is a private university located at 1900 Belmont

Boulevard, Nashville, Tennessee, 37212. Belmont is a Tennessee non-profit corporation.

            2.         Defendant Pennsylvania Manufacturers' Indemnity Company is a Pennsylvania

corporation with a principal place of business at 380 Sentry Parkway, Blue Bell, Pennsylvania,

19422-754. Pennsylvania Manufacturers' Indemnity Company does business in Tennessee and

operates under the trade name PMA Insurance Group. Upon information and belief, PMA is

registered to do business in Tennessee under the'trade name PMA Management Corp. and may

be served by its registered agent Corporation Service Company, 2908 Poston Avenue, Nashville,

Tennessee, 37203.




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            3.         Non-party MDM Covenant Insurance, LLC ("MDM") is a Tennessee limited

liability company with a principal place of business at 5217 Maryland Way, Suite 222,

Brentwood, Tennessee, 37027. M!DM was the insurance broker for the Policy.

            4.         Jurisdiction and venue are proper in this Court. PMA issued and/or administered

insurance policies in Davidson County, Tennessee and the claim at issu.e is based on damage that

arose in Davidson County, PMA's denial of coverage for such damage, and PMA's treatment of

Belmont in Davidson County.

                                                     FACTS

            5.         Beginning in or about February 2010, Belmont purchased insurance coverage

from PMA including general liability coverage, inland marine coverage, commercial output

coverage, and boiler and machinery coverage. *The terns of the coverages are set forth by the

PMA policy (the "Policy") provided to Belmont.

            6.         On the first days of May 2010, the City of Nashville suffered an historic flood

after over thirteen (13) inches of rain was recorded over a two-day period.

            7.         Given its geographic location, Belmont was fortunate not to sit in a flood plain.

            8.         Belmont, however, suffered total damages of approximately $300,000 as a result

of the water and related damages in May 2010, including water intrusion and mechanical failures

in twenty (20) different buildings. The damage occurred during the term of the Policy.

            9.         Belmont filed a claim (Claim No. 1,0000-03724) with PMA on May 5, 2010.

            10.        PMA's independent adjuster and PMA summarized the damage to Belmont as

including the following:

                       a. Maple Hall: Water damage to the mechanical and electrical room due to sump
                          pump failure and back-up through the drains.




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                       b. Troutt Theater: Entrance and office space damage due to surface and ground
                          water.

                       c. Belmont Heights Baptist Church Fellowship Hall: Hallways and guitar room
                          damage due to surface and groundwater and intrusion from the foundation
                          wall.

                       d. Kennedy Hall: Electrical mechanical room water damage due to sump pump
                          failure.

                       e. Hail Hall: Basement storage water damage due to surface and ground water
                          and intrusion from the foundation wall.

                       f, Heron Hall: Basement office space water damage due to ground water on the
                          foundation wall.

                       g. Humanities Building Mechanical Room: Damage to contents from water
                          intrusion from surface water through the door thresholds.

                       h. Lil Bunch Library: Damage to hardwood flooring from water intrusion from
                          the foundation wall.

                       i.   University Cafeteria; Water damage to ceiling from intrusion from property's
                            rubber membrane.

                       j    Wright Hall: Damage from water intrusion through third level emergency
                            exist door threshold..

                       k. Bruin Hills Club House: Damage from water intrusion through door
                          thresholds and foundation wall below grading.

                       1. 2705 Hillside:    Water damage to carpet from water intrusion through door
                          thresholds.

                       m. 2241 Hillside: Water damage to carpet and vinyl floor covering from water
                          intrusion through 3-tab asphalt shingled roof covering.

                       n.   1545 Commons: Damage to ceiling from water intrusion through 3-tab
                            asphalt shingled. roof covering.

                       o. Jack C. Massey Business Center: Damage to tile from water intrusion through
                          the door thresholds.

            11.        In addition to the general coverage set forth in the Policy, the Policy contains a

specific coverage extension for back-up of sewers and drains, an endorsement for earth


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movement and water damage, a coverage extension for computers and consequential loss, an

endorsement for equipment breakdown, and coverage for musical instruments and fine arts

items.

            12.        MDM has taken the position that the Policy provides coverage to Belmont and

has informed PMA of its position.

            13.        In particular, MDM has identified in correspondence with PMA at least twelve

(12) coverage extensions and supplemental coverages that are applicable:

                       a. Boiler and Machinery (including from sump pump failure)

                       b. Back-up of Sewers and Drains

                       c. Change in Temperature/Humidity

                       d. Computer Coverage

                       e. Consequential Loss

                       f. Debris Removal

                       g. Personal Effects

                       h. Pollutant Clean-Up and Removal

                       1.   Trees, Shrubs and Plants

                       j. Valuable Papers and Records
                       k. Fungus/Wet Rot

                       1. Musical Instruments and Fine Arts Policies

            14.        In a letter dated June 16, 2010, PMA agreed that there was coverage for damages

resulting from sump pump failure under the Policy, wit a limit of $10,000, which is also the

deductible under the Policy.




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             15.        In the June 16, 2010 letter, however, PMA took the position that all other damage

resulted from surface and groundwater intrusion and that such damage was excluded under

"Form #PTM 00 70 06 96."

             16.        Form #PIM 00 70 06 96 was not included in the Policy provided to Belmont by

PMA and does not appear on the Endorsement Schedule for the Policy.

             17.        In a letter dated August 16, 2010, Belmont informed PMA of its reliance on a

form and exclusion that is not contained in the Policy.

             18.        Despite being notified of its erroneous reliance on an endorsement and form not

contained in the Policy, by letter dated August 26, 2010, PMA informed Belmont of its final

decision to deny coverage for the May 2010 damages except for damages resulted from the sump

pump failure.

             19.        After MDM again informed PMA of its position that there was coverage, PMA

informed MIDM that it continued to rely on "Form #PTM 00 70 06 96" to deny coverage even

though PMA acknowledged that such form was not included in the Policy or even listed on the

Endorsement Schedule of the Policy because of PMA's "human error."

            20.         Based on the positions of PMA and MIDM, Belmont sought to engage an

independent mediator through the Insurors of Tennessee to resolve the dispute, but PMA refused

to consider mediation or further discuss the issue in any manner.

            21.         Accordingly, Belmont was forced to file this lawsuit to resolve this insurance

coverage dispute.

                                                   COUNT I
                                               Breach of Contract

            22.         Belmont incorporates all allegations contained in this Complaint as though such

allegations were fully set forth herein:


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             23.         Pursuant to the terms of coverage in the Policy, PMA is required to pay for the

damage to Belmont arising in May 2010.

             24.         PMA has refused to pay claims in breach of their contractual obligations to

Belmont.

             25.         PMA, through their handling of the claims, have also breached the covenant of

good faith and fair dealing.

             26.         These breaches of the Policy were and are the direct and proximate cause of

damage to Plaintiff in an amount to be proven at trial.

             27.         Plaintiff is entitled to prejudgment interest pursuant to Tenn. Code Ann. § 47-14-

103 or otherwise.

                                                    COUNT 11
                                   Additional Liability for Bad-Faith Failure to
                                   Pay Promptly, Tenn. Code. Ann. § 56-7-105

             28.         Belmont incorporates all allegations contained in this Complaint as though such

allegations were fully set forth herein.,

             29.         The claims arising from Belmont's damage in May 2010 are due and payable

under the terms of the Policy.

             30.         More than sixty (60) days prior to the filing of this action, notice was provided to

PMA that failure to pay the claims Was based on a form not contained in the Policy nor listed in

the Endorsement Schedule and, therefore, would not be in good faith.

              31.        PMA's actions, including their continued refusal to pay the claims or to respond

to Belmont's efforts to resolve this dispute, have not been in good faith and their failure to pay

has inflicted additional expense, loss, and/or injury, including attorneys' fees, upon Belmont.




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             32.        Pursuant to Tenn. Code Ann. §56-7-105, Belmont is entitled to the loss claimed,

 interest thereon, and a sum not exceeding twenty-five percent (25%) on the liability for the loss,

 to cover additional expense, loss, or injury, including attorneys' fees, in an amount to be proven

 at trial.

                                                 COUNT III
                               Violation of Tennessee Consumer Protection Act

             33.        Belmont incorporates all allegations contained in this Complaint as though such

 allegations were fully set forth herein.

             34.        The Tennessee Consumer Protection Act ("TCPA"), Tenn. Code. Ann. §§47-18-

 101, et seq., prohibits "[u]nfair or deceptive acts or practices affecting the conduct of any trade

or commerce," including "engaging in any act or practice which is deceptive to the consumer or

any other person."

             35.        PMIA represented to Belmont that the claims were being denied based on a form

that is not contained in the Policy nor listed on the Endorsement Schedule, and refused to alter

their position after this mistake was explained by both Belmont and MDM.                          This

misrepresentation constitutes an unfair or deceptive act or practice in violation of the TCPA,

entitling Belmont to actual damages plus reasonable attorneys' fees and costs.

             36.        The representations, omissions, and other conduct of PMA in handling and

dealing with the claims, including PMIA's bad faith refusal to pay and misrepresentations of fact,

constitute unfair or deceptive acts or practices in violation of the TCPA, entitling Belmont to

actual damages plus reasonable attorneys' fees and costs.

             37.        PMA's unfair or deceptive acts or practices in violation of the TCPA affected

trade and commerce as defined by the TCPA.




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            38.        PLA's conduct in handling the claims, including their continued reliance on a

form not contained in the Policy, constitute violations, of the Unfair Claims Settlement Act.

           39.         As a direct result of PMA's unfair or deceptive acts or practices in violation of the

TCPA, Belmont suffered an ascertainable loss of money or property.

           40.         PMA's unfair and deceptive acts or practices in violation of the TCPA were

willful and knowing, entitling Belmont to treble damages.



                                                JURY DEMAND

           Belmont requests a trial by jury of any issues triable of right by ajury.



                                            PRAYER FOR RELIEF

           WHEREFORE, PREMISES CONSIDERED, Belmont respectfully requests and prays:

            1.         That proper process issue and be served on PMA;

           2.          That the Court award damages in an amount tobe proven at trial for failure to pay

the claims, plus interest thereon, and a sum not exceeding twenty-five percent (25%) on the

liability for the loss, to cover additional expense, loss, or injury, including attorneys' fees, in an

amount to be proven at trial;

           3.          That the Court treble Belmont's damages;

           4.          That the Court award Belmont its attorneys' fees and costs in this action;

           5.          That the Court award Belmont punitive damages for PMA's wanton, willful, and

malicious conduct;

           6.          That the Court award Belmont prejudgment interest; and




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            7.         That the Court award Belmont such other, further, and general relief which the

Court deems proper or appropriate.

                                                          Respectfully submitted,




                                                          SHERRARD & ROE, PLC
                                                              . d Avenue South, Suite 1100
                                                          150 3
                                                          Nashville, TN 37201
                                                          (615) 742-4200

                                                          Attorneys for Belmont University




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                       Pennsylvania Manufacturers' Indemnity
                       Company d/b/a PMA Insurance Group
                       d/b/a PMA Management Corp.
                       c/o Corporation Service Company
                       2908 Poston Avenue
                       Nashville, Tennessee 37203




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